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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 RENATA SINGLETON; MARC
 MITCHELL; LAZONIA BAHAM; JANE
 DOE; TIFFANY LACROIX; FAYONA                        Civil Action No. 17-10721
 BAILEY; JOHN ROE; and SILENCE IS
 VIOLENCE,                                           Section H
                                                     Judge Jane Triche Milazzo
        Plaintiffs,
                                                     Division 1
 v.
                                                     Magistrate Judge Janis van Meerveld
 LEON CANNIZZARO, in his official
 capacity as District Attorney of Orleans
 Parish and in his individual capacity;
 GRAYMOND MARTIN; DAVID PIPES;
 IAIN DOVER; JASON NAPOLI; ARTHUR
 MITCHELL; TIFFANY TUCKER;
 MICHAEL TRUMMEL; MATTHEW
 HAMILTON; INGA PETROVICH; LAURA
 RODRIGUE; SARAH DAWKINS; and
 JOHN DOE, in their individual capacities,

        Defendants.

                                            ORDER

       Considering the foregoing Motion to Dismiss With Prejudice All Claims by Renata

Singleton Against Individual Defendants;

       IT IS HEREBY ORDERED that all claims asserted by Plaintiff Renata Singleton against

Arthur Mitchell, Tiffany Tucker, David Pipes, Graymond Martin, and Leon Cannizzaro in his

individual capacity (collectively, the “Individual Defendants”) are hereby dismissed with

prejudice. Ms. Singleton’s only remaining claims in this action are against Leon Cannizzaro in his

official capacity as District Attorney of Orleans Parish (“OPDA”).
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       IT IS FURTHER ORDERED that there shall be no award of costs or attorney fees with

respect to the claims brought by Ms. Singleton against the Individual Defendants; the Plaintiffs

and Defendants shall each bear their own costs and attorney fees, respectively.

       New Orleans, Louisiana, this 30th day of December, 2020.


                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE




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